                 Case 9:20-cr-00032-DWM                              Document 188-5                        Filed 02/25/22           Page 1 of 2


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   Et<hacfion Report - Apple iOS Full File system


Participants
+1a123058776
Matt Marshall'




Conversation - lnstant Messages (7)


     Frornr *181?3058776 Malt Marchall
     To: +               (ot{Der)

     Bare with this odd question, but it direcUy relates to the good guy stuff we have Ialked about.
     Are you interested in supporting a w8y o,l the books op for tho Red Cross?

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     Fro.nr +181230i8776 Malt Ma6hall
     To:'                (or/n6r)

     Shit will be a bit hairy and l'm going lo lead the assauh team. As long ss you are ok with
     lhat. There will be some funding involved and I c€n give !,ou th€ dstails in person but I feel
     very confident you are going to be interested. This will have nolhing to do officialty with tou
     or NEWCO by will lsy groundwork fo. future projects when you ara .eady lo hil launch,

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                                                                                    Looking forward to hearing the details in percon

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  Io: r             (orinel
 We will ha\€ to gst together lairly soon on this becsuss if wE get inrchrsd, time will be of
 lh6 essence.

     Participant               Delh/ered                                                Played
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  Frdn: +18123058776 MaIt Lrarshall
 To:                (ovfis)
 Call me

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